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                                 #:3730




                       Exhibit 28
                    Case 2:20-cv-08035-SVW-JPR Document 160-33 Filed 05/18/21 Page 2 of 4 Page ID
                                                     #:3731

       From:               Henry Liu [henry.liu@ff.com]
       Sent:               7/30/2018   9:26:16 PM
      To:                  lan Eisner [ian.eisner@ff.com]; Scott           Wang@ff.com]; Harvey Karlovac [harvey.karlovac@ff.com]
                                                                   Wang [Yining.
       cc:                 Brian Fritz [Brian.Fritz@ff.com]
       Subject:            Re: meeting recording



      | would agree with lan and that it would be in the company             as   well   as   everyone’s best interest to follow the applicable
      laws and rules.


      From: lan Eisner <ian.eisner@ff.com>
      Date: Monday, July 30, 2018 at 18:20
      To: Scott Wang <Scott.Wang@ff.com>, Harvey Karlovac <harvey.karlovac@ff.com>
      Cc: Henry Liu <henry.liu@ff.com>, Brian Fritz <Brian.Fritz@ff.com>
      Subject: Re: meeting recording
      Hi   Scott,

      Subject to any thoughts Henry might have,  froma litigation perspective, it’s our strong recommendation not to record
      ExComm   meetings. Any       recordings
                                       such    would potentially be discoverable in litigation involving the company (for
      example, ExComm meetings have been the subject of discovery in the EVelozcity litigation). We'd risk our litigation
      opponents taking statements made during ExComm meetings out of context to damage the company. The fact is that
      there have been statements made at ExComm meetings that, while well intentioned, would potentially damage the
      company if they had been recorded and produced in the context of litigation (or leaked to the media). Further, recording
      the meetings may have a chilling effect on what participants are willing to contribute at meetings. (Note that it’s my
      understanding that, under CA, the attendees would need to be informed that they are being recorded.)
      Happy to discuss further,
      lan



      Get Outlook fer iOS



      On    Mon, Jul 30, 2018       at 5:06 PM                         Wang@tf.com>
                                                 -0700, "Scott Wang" <Scott.                         wrote:


        lan,    pls provide your perspective
        Best    Regards,


        Faraday Future
        Scott   Wang
        CEO Office Operation
  :     & UP2U Business Partner
                   1211


        18455 S      Figueroa St,
  : Gardena,          CA 90248


            .corm




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                                                 #:3732
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  :   From: Harvey Karlovac
      Sent: Monday, July 30, 2018 5:04 PM
      To: Scott Wang <Scott.Wang@ff.com>
      Cc: lan Eisner <ian.eisner@ff.com>
      Subject:        RE:     meeting recording

      Scott,      as a   furtherthought on this prospective course of action, may | connect you here with litigation guru, as in                                                                          FF
      may       not   necessarily want to be documenting all discussions... Thanks-
  :   Harvey Karlovac
      SeniorLegal Counsel, Trade Compliance
      Faraday Future
  :   18455 S. Figueroa St.
      Gardena, CA 90248 USA
  _
      Mobile 310.874.8732
      www.fi.com


      From: Harvey Karlovac
  _
      Sent: Friday, July 27, 2018 1:17 PM
      To: Sheryl Skibbe <sheryl.skibbe@ff.com>


  |   Subject:        RE:     meeting recording
      Hi   Sherry,       |   was   passing by Scott’s desk and shared my ideas when he asked,                                             but    we    defer to you           as   the SME!

  :   Harvey Karlovac
      SeniorLegal Counsel, Trade Compliance
      Faraday Future
  :   18455 S. Figueroa St.
      Gardena, CA 90248 USA
  _
      Mobile 310.874.8732
           ff.com


      From: Scott Wang
      Sent: Friday, July 27, 2018 1:03 PM


      CeiXiaoQuMa<Xiagou.Ma@ficom>
      Subject: meeting recording

      Sheryl and Harvey,
      YT requested to record all the key meetings so that we
             1.       Have       track record of the meetings
             2.     Can       leverage these footage for future documentaries
      Need your              help to assign a layer and guide us on how to do this within the confines of CA law.
      |     told that the recording needs to get all the consent of the attendees if the
          was                                                                                                                                   meeting is more than 3 people.
      Pls help me with the exact requirements and restrictions. E.g.
      What verbiage should we include in the meeting invite?
  _
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                                                    #:3733
   What announcement we need to make at the beginning of the meeting or each new guest speaker enters the room?
   Etc.

   Best   Regards,


   Faraday Future
   Scott Wang

   CEO Office Operation
   & UP2U Business Partner
   +1919621 1211


   18455 S Figueroa St,
   Gardena, CA 90248



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